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 7

 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11
     UNITED STATES OF AMERICA,          )       CASE NO. 1:10-CR-00500-AWI
12                                      )
                       Plaintiff,       )       STIPULATION AND ORDER TO
13                                      )       CORRECT JUDGMENT [CORRECTED
          v.                            )
14                                      )
     STEFAN MILLER ,                    )
15                                      )
                       Defendant.       )
16                                      )
     _____________________________      )
17

18        Sentencing in this matter occurred on November 28, 2011, at

19   1:30 p.m.   At sentencing, the court ordered the defendant to pay

20   restitution in the amount of $1,300,700.62.           This amount was based

21   upon the victim schedule attached to the government’s sentencing

22   memorandum filed November 23, 2011.        C.R. 85.    However, according

23   to the victim schedule, the correct amount of restitution ordered

24   should have been $1,311,799.62. 1

25        Accordingly, the parties hereby stipulate pursuant to Rule

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27        1
           The court apparently made this error because the government’s
     sentencing memorandum contained a typographical error stating the
28   lower amount.

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 1   35(a) of the Federal Rules of Criminal Procedure that the court may

 2   correct this sentence which resulted from an arithmetical,

 3   technical or other clear error to state that the defendant is

 4   ordered to pay restitution in the amount of $1,311,799.62.

 5   DATED: November 29, 2011          BENJAMIN B. WAGNER
                                       United States Attorney
 6

 7                               By:       /s/ Mark J. McKeon
                                       MARK J. McKEON
 8                                     Assistant U.S. Attorney

 9   DATED: November 29, 2011              /s/ Melody M. Walcott
                                       MELODY M. WALCOTT
10                                     Attorney for Defendant

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12                                     ORDER

13   IT IS SO ORDERED.

14
     Dated:       December 2, 2011
15   0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE

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